                                                                      UNITED STATES BANKRUPTCY COURT
                                                                                  FOR THE
                                                                     EASTERN DISTRICT OF NORTH CAROLINA

 Fill in this information to identify your case:
 Debtor 1               Ruben Mario Pena, Jr.
                              First Name            Middle Name                Last Name
 Debtor 2
 (Spouse, if filing)          First Name            Middle Name                Last Name
                                                                                                                      Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
                                                                                                                      have been changed.

 Case number:                 18-04935-5
 (If known)




                                                                            CHAPTER 13 PLAN

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be
                           confirmable. You must check each box that applies in §§ 1.1, 1.2, 1.3, and 1.4, below.

 1.1          A limit on the amount of a secured claim, including avoidance of mortgage liens, set                Included                 Not Included
              out in Sections 3.1 or 3.3, which may result in a secured claim being treated as only
              partially secured or wholly unsecured. This could result in the secured creditor
              receiving only partial payment, or no payment at all.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included                 Not Included
              set out in Section 3.5.
 1.3          Nonstandard provisions, set out in Part 9.                                                          Included                 Not Included


To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the plan is confirmed.
                           You should read this plan carefully and discuss it with your attorney if you have an attorney in this bankruptcy case. If you do
                           not have an attorney, you may wish to consult one. Neither the staff of the Bankruptcy Court nor the Chapter 13 Trustee
                           can give you legal advice.
                           The following matters may be of particular importance to you. Debtors must check one box on each line of §§ 1.1, 1.2, and 1.3,
                           above, to state whether or not the plan includes provisions related to each item listed. If an item is checked “Not Included,” or
                           if neither box is checked or both boxes are checked, the provision will not be effective, even if set out later in the plan.

                           Proof of Claim: A creditor’s claim will not be paid or allowed unless a proof of claim is timely filed by, or on behalf of, the
                           creditor. Only allowed claims will receive a distribution from the Trustee. Confirmation of a plan does not preclude the Debtor,
                           Trustee, or a party in interest from filing an objection to a claim. See generally, 11 U.S.C. §§ 501 and 502, and Bankruptcy Rules
                           3001, 3002, and 3002.1.

                           Pre-Confirmation Adequate Protection Payments: Pre-confirmation adequate protection payments required by 11 U.S.C. §
                           1326(a)(1) and Local Rule 3070-1(b) shall be disbursed by the Trustee in accordance with the Trustee’s customary distribution
                           process. A creditor will not receive pre-confirmation adequate protection payments unless and until a timely, properly
                           documented proof of claim is filed with the Bankruptcy Court.

1.4 Information about the Debtor: Income and Applicable Commitment Period. (Check one.)
    The “current monthly income” of the Debtor, calculated pursuant to 11 U.S.C. § 101(10A) and then multiplied by 12, is:
       ABOVE the applicable state median income; the Debtor’s applicable commitment period is 60 months.

           BELOW the applicable state median income; the Debtor’s applicable commitment period is 36 months.

1.5 Projected Disposable Income and “Liquidation Test.”
    The projected disposable income of the Debtor, as referred to in 11 U.S.C. § 1325(b)(1)(B), is $ -186.79 per month. The amount referred to
    in 11 U.S.C. § 1325(a)(4) that would be paid to holders of allowed unsecured claims if the estate of the Debtor were liquidated in a chapter 7
    bankruptcy case (known as the “liquidation test”) is estimated by the Debtor to be $ 0.00 . The “liquidation test” has been computed as
    indicated in E.D.N.C. Local Form 113B, Liquidation Worksheet & Plan Summary filed simultaneously with this plan.

                                                                                   E.D.N.C. Local Form 113A (12/17)                      Page 1 of 7
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 Debtor                Ruben Mario Pena, Jr.                                                                 Case number        18-04935-5


1.6 Definitions: See attached Appendix.

 Part 2: Plan Payments and Length of Plan
2.1 Debtor shall make regular payments to the Trustee as follows:
      $ 1,250.00 per Month for 57 months
     (Insert additional line(s), if needed.)

2.2 Regular payments to the Trustee will be made from future income in the following manner:
    (Check all that apply.)
            Debtor will make payments pursuant to a payroll deduction order.
            Debtor will make payments directly to the Trustee.

2.3 Additional payments. (Check one.)
          None. If “None” is checked, the rest of § 2.3 need not be completed or reproduced.

2.4 The total amount of estimated payments to the Trustee is $                          71,250.00    .

 Part 3: Treatment of Secured Claims
3.1 Residential Mortgage Claim(s) – When Residence to be Retained (Surrender addressed in § 3.6). (Check one.)
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

 Note: Avoidance of mortgage liens may not be accomplished in this district in the absence of the filing and proper service of a motion and
 notice of motion specifically seeking such relief and giving the affected creditor the opportunity to object and request a hearing.

              The Debtor proposes the following treatment of mortgage claims secured by the Debtor’s principal residence:

                                                                                                                                                                            Other
                                                                                                                       Tot. Arrears                                         Terms
 Creditor Name            Direct Amt./Mo.           Conduit Amt./Mo   Arrears Owed       + Adm. Arrears*         =                         Cure $/Mo.          Avoid          (Y/N)
                                                                                                                         to Cure*                               (Y/N)       (if Y, see
                                                                                                                                                                              Other,
                                                                                                                                                                             below)

 Cenlar FSB                    $0.00         $954.23       $4,000.00 $2,000.00                         $6,000.00                               $181.82            N           N
Insert additional claims, as needed.
 Other. (Check all that apply, and explain.) The Debtor:
     (a)       does intend to seek a mortgage modification with respect to the following loan(s) listed above:
                     ; or
     (b)       does not intend to seek mortgage loan modification of any of the mortgage loans listed above; and
     (c)       intends to:

3.2 Secured Claims Other Than Residential Mortgage Claims – To be Paid Directly by Debtor.
    (Check one.)
         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
         On each claim listed below, the Debtor will make payments directly to the secured creditor, according
         to the contractual terms between the parties.

                                                                                                                                                             Other
                                                                                                                                                             Terms         Mo. Pmt.
    Creditor Name                            Collateral                Direct Amt./Mo         Arrears Owed       Int(%)               Cure $/Mo.               (Y/N)        Ends
                                                                                                                                                             (if Y, see
                                                                                                                                                               Other,     (mm/yyyy)
                                                                                                                                                              below)

 Northwest          2011 Dodge Ram 1500                                       $388.00                    $0.00       0.00%                         $0.00                  11/2021
 Federal Credit 109,000 miles
                    2 WD Quad cab
 Performance 2016 Indian Chief Darkhorse                                      $257.89                    $0.00       0.00%                         $0.00                  10/2023
 Financial          15,000 miles
Insert additional claims, as needed.
     Other:

3.3 "Cram-Down" Claims - Request for Valuation of Collateral and Modification of Undersecured Claims. (Check one.)
        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Secured Claims not Subject to Valuation of Collateral — Monthly Payment to be Disbursed by Trustee. (Check one.)

                                                                                     E.D.N.C. Local Form 113A (12/17)                                      Page 2 of 7
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 Debtor                Ruben Mario Pena, Jr.                                                  Case number        18-04935-5

              None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests. (Check one.)
         None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Surrender of Collateral. (Check one.)
         None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.

 Part 4: Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in Part 9, Nonstandard Plan Provisions, Trustee’s commissions and all allowed priority
     claims, including arrearage claims on domestic support obligations, will be paid in full without interest through Trustee disbursements under the
     plan.

4.2 Trustee’s Fees: Trustee’s fees are governed by statute and orders entered by the Court and may change during the course of the case. The
    Trustee’s fees are estimated to be 8.00 % of amounts disbursed by the Trustee under the plan and are estimated to total $ 5,700.00                   .

4.3 Debtor’s Attorney’s Fees. (Check one, below, as appropriate.)
         None, because I filed my case without the assistance of an attorney and am not represented by an
         attorney in this case. If “None” is checked, the rest of § 4.3 need not be completed or reproduced.

                                                                             [OR]

              Debtor’s Attorney’s Fees Requested or to be Requested, Paid Prior to Filing, and to be Paid through
              the Plan (and check one of the following, as appropriate).
                   Except to the extent that a higher amount is allowed by the Court upon timely application, or a lower amount is agreed to by the
                   attorney, the Debtor’s attorney has agreed to accept the “standard base fee,” as described in Local Rule 2016-1(a)(2), for services
                   reasonably necessary to represent the Debtor before the Court through the earlier of confirmation of the Debtor’s plan or the first 12
                   months after this case was filed. The amount of compensation requested does not exceed the allowable “standard base fee” as set
                   forth in § 2016-1(a)(1) of the Administrative Guide.
                   The total amount of compensation requested is $ 4,000.00 , of which $ 300.00 was paid prior to filing. The Debtor’s
                   attorney requests that the balance of $ 3,700.00 be paid through the plan.

                                                                             [OR]

                     The Debtor’s attorney intends to apply or has applied to the Court for compensation for services on a “time and expense” basis, as
                     provided in Local Rule 2016-1(a)(7). The attorney estimates that the total amount of compensation that will be sought is $     , of
                     which $      was paid prior to filing. The Debtor’s attorney requests that the estimated balance of $     be paid through the plan.

4.4 Domestic Support Obligations. (Check all that apply.)

              None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced. +1


4.5 Other Priority Claims. (Check one.)
            None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5: Executory Contracts and Unexpired Leases
5.1 (Check one.)
         None. If “None” is checked, the rest of Part 5 need not be completed or reproduced.



 Part 6: Co-Debtor and Other Specially Classified Unsecured Claims
6.1 (Check one.)
         None. If “None” is checked, the rest of Part 6 need not be completed or reproduced.

 Part 7: Unsecured Non-priority Claims
7.1 General Treatment. After confirmation of a plan, holders of allowed, non-priority unsecured claims that are not specially classified in § 6.1,
     above, will receive a pro rata distribution with other holders of allowed, nonpriority unsecured claims to the extent funds are available after
     payment to the holders of allowed secured, arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee’s


                                                                          E.D.N.C. Local Form 113A (12/17)                            Page 3 of 7
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 Debtor                Ruben Mario Pena, Jr.                                                    Case number        18-04935-5

       fees. Holders of allowed, non-priority unsecured claims may not receive any distribution until all claims of higher payment priority under the
       Bankruptcy Code have first been paid in full.

 Part 8: Miscellaneous Provisions
8.1 Non-Disclosure of Personal Information: Pursuant to N.C. Gen. Stat. § 76-66 and other applicable state and federal laws, the Debtor objects to
     the disclosure of any personal information by any party, including without limitation, all creditors listed in the schedules filed in this case.

8.2 Lien Retention: Holders of allowed secured claims shall retain the liens securing their secured claims to the extent provided by 11 U.S.C. §
    1325(a)(5).

8.3 Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the Debtor does not waive, release,
    or discharge, but rather retains and reserves, for the benefit of the Debtor and the chapter 13 estate, any and all pre-petition and post-petition
    claims the Debtor could or might assert against any party or entity arising under or otherwise related to any state or federal consumer statute, or
    under state or federal common law, including, but not limited to, claims related to fraud, misrepresentation, breach of contract, unfair and
    deceptive acts and practices, Retail Installment Sales Act violations, Truth in Lending violations, Home Equity Protection Act violations, Real
    Estate Settlement Procedures Act violations, Fair Debt Collection Practices Act violations, Fair Credit Reporting Act violations, Equal Credit
    Opportunity Act violations, Fair Credit Billing Act violations, Consumer Lending Act violations, Federal Garnishment Act violations,
    Electronic Funds Transfer Act violations, and any and all violations arising out of rights or claims provided for under Title 11 of the United
    States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of the Bankruptcy Court for the Eastern District of North
    Carolina.

8.4 Vesting of Property of the Bankruptcy Estate:
    (Check one.)
    Property of the estate will vest in the Debtor upon:
         plan confirmation.
         discharge
         other:

8.5 Possession and Use of Property of the Bankruptcy Estate: Except as otherwise provided or ordered by the Court, regardless of when property
    of the estate vests in the Debtor, property not surrendered or delivered to the Trustee (such as payments made to the Trustee under the Plan)
    shall remain in the possession and control of the Debtor, and the Trustee shall have no liability arising out of, from, or related to such property
    or its retention or use by the Debtor. The Debtor’s use of property remains subject to the requirements of 11 U.S.C. § 363, all other provisions of
    the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

8.6 Creditor Notices When Debtor to Make Direct Payments: Subject to Local Rule 4001-2, secured creditors, lessors, and parties to executory
    contracts that will be paid directly by the Debtor may, but are not required to, send standard payment notices to the Debtor without violating the
    automatic stay.

8.7 Rights of the Debtor and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not prejudice any rights the Trustee
    or Debtor may have to bring actions to avoid liens, or to avoid and recover transfers, under applicable law.

8.8 Rights of the Debtor and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to
    object to any claim.

8.9 Discharge: Subject to the requirements, conditions, and limitations set forth in 11 U.S.C. § 1328, and unless the Court approves a written
    Waiver of Discharge executed by the Debtor, the Court shall, as soon as practicable after completion by the Debtor of all payments under the
    plan, grant the Debtor a discharge of all debts that are provided for by the plan or that are disallowed under 11 U.S.C. § 502.

 Part 9:      Nonstandard Plan Provisions

9.1 Check "None" or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

                                 No additional plan provisions may follow this line or precede Part 10: Signature(s), which follows;
                                         Appendix – Definitions, referenced in § 1.6, above, is attached after Signature(s).


 Part 10: Signatures

10.1       Signatures of Debtor(s) and Debtor(s)' Attorney


                                                                             E.D.N.C. Local Form 113A (12/17)                          Page 4 of 7
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 Debtor                Ruben Mario Pena, Jr.                                             Case number    18-04935-5

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for
Debtor(s), if any, must sign below.

 X     /s/ Ruben Mario Pena, Jr.                                      X
       Ruben Mario Pena, Jr.                                               Signature of Debtor 2
       Signature of Debtor 1

       Executed on            October 16, 2018                             Executed on


By signing and filing this document, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13 plan are identical
to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 9.

 X     /s/ Cliff Brisson, Jr.                                         Date October 16, 2018
       Cliff Brisson, Jr. 8193                                                         MM/DD/YYYY
       Signature of Attorney for Debtor(s)
If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions
included in Part 9.




                                                                     E.D.N.C. Local Form 113A (12/17)                      Page 5 of 7
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 Debtor                Ruben Mario Pena, Jr.                                               Case number         18-04935-5


APPENDIX: Definitions.
The following definitions are applicable to this Plan.
 “AP Amt.”                            The amount the Debtor proposes to pay per month as pre-confirmation “adequate protection” payments in
                                      accordance with 11 U.S.C. § 1326(a)(1)(C) and Local Rule 3070-1(c).
 “Administrative Guide”               The Administrative Guide to Practice and Procedure, a supplement to the Local Rules, which facilitates
                                      changes in practice and procedure before the Court without the necessity for revision to the Local Rules. The
                                      Administrative Guide may be found at the following Internet URL:
                                      http://www.nceb.uscourts.gov/sites/nceb/files/AdminGuide.pdf. As used herein, the term refers to The
                                      Administrative Guide in effect as of the date of the filing of the debtor’s petition.
 “Applicable Commitment Period” The mandated length of a Debtor’s plan. Debtors whose annual median income is above the applicable state
                                      median income, must propose 60-month plans, and below median income debtors are not required to propose
                                      a repayment plan longer than 36 months. Either may propose a shorter plan only if the plan will repay 100%
                                      of all allowed claims in full in less than the “applicable commitment period.” Below median income debtors
                                      may propose a plan longer than 36 months, but not longer than 60 months, if the Court finds cause to allow a
                                      plan longer than 36 months. See § 1.4, above.
 “Arrears”                            The total monetary amount necessary to cure all pre-petition defaults.
 “Avoid”                              The Debtor intends to avoid the lien of a creditor in accordance with 11 U.S.C. § 506(d) and In re Kidd, 161
                                      B.R. 769 (Bankr. E.D.N.C. 1993).
 “Bankruptcy Rules”                   The Federal Rules of Bankruptcy Procedure.
 “Claim” or “Claim Amount”            The estimated amount of the creditor’s claim against the Debtor. Absent a sustained objection to claim, the
                                      total amount listed by a creditor as being owed on its timely filed proof of claim shall control over any
                                      amount listed by the Debtor in this plan.
 ”Collateral”                         Description of the real property or personal property securing each secured creditors’ claim.
 “Conduit”                            The regular monthly mortgage payment that is to be made by the Trustee when a mortgage claim is proposed
                                      or required to be paid through the plan disbursements. (See Local Rule 3070-2). The number of monthly
                                      “conduit” payments to be made by the Trustee will be equal to the number of monthly payments proposed
                                      under the plan.
 “Court”                              The United States Bankruptcy Court for the Eastern District of North Carolina.
 “Cram Down”                          The Debtor intends that the amount to be paid in satisfaction of a secured claim be determined by determining
                                      the “value“ of the secured creditor’s “collateral,” or what the “collateral” is worth, under 11 U.S.C. §506(a)
                                      [which the Debtor asserts is the amount shown in § 3.3, under the chart column headed, “Value of
                                      Collateral”], and amortizing and paying such “value” at the interest rate proposed in the chart column headed,
                                      “Int. (%),” over the life of the Debtor’s plan. Any remainder of the creditor’s total “claim amount” is allowed
                                      and treated as an unsecured claim. See §§ 1.1, 3.3, and 7.1.
 “Cure”                               Whether the Debtor intends to pay the amount in “arrears” on any claim. With respect to a mortgage claim
                                      secured by the Debtor’s principal residence, if the Debtor proposes a cure through mortgage loan
                                      modification, such intention is indicated in § 3.1. Otherwise, mortgage “arrears” will be cured through the
                                      chapter 13 plan disbursements unless the Debtor indicates a different method to cure under § 3.1. With respect
                                      to other secured claims being paid directly by the debtor or an unexpired lease or executory contract that the
                                      Debtor proposes to assume, if the debtor intends to cure “arrears,” these “arrears” will be cured through the
                                      Trustee’s disbursements under a confirmed chapter 13 plan unless the Debtor indicates otherwise in § 3.2.
                                      With respect to “arrears” owed on a Domestic Support Obligation [defined in 11 U.S.C. § 101(14A) and
                                      addressed in § 4.4, below], these “arrears” will be cured through the Trustee’s disbursements under and by the
                                      end of the confirmed plan.
 “Debtor”                             The individual or the married couple who filed this bankruptcy case, whose name or names are found at the
                                      top of the first page of this chapter 13 plan. The term “Debtor” as used in this plan includes both debtors if this
                                      case was filed by a married couple.
 “Direct”                             The Debtor proposes to make all post-petition payments on the obligation directly, after the timely filing of a
                                      claim by or for the creditor. Disbursements to creditors secured by a lien on the Debtor’s principal residence
                                      are subject to the provisions of Local Rule 3070-2.
 “Local Rules”                        The Local Rules of Practice and Procedure of the United States Bankruptcy Court for the Eastern District of
                                      North Carolina, which may be found at the following Internet URL:
                                      http://www.nceb.uscourts.gov/sites/nceb/files/local-rules.pdf.
 “Interest” or “Int.”                 The interest rate, if any, at which the Debtor proposes to amortize and pay a claim. In the case of an
                                      “arrearage” claim, unless the plan specifically provides otherwise, the Debtor proposes to pay 0% interest on
                                      the portion of any claim that is in arrears.




                                                                       E.D.N.C. Local Form 113A (12/17)                             Page 6 of 7
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 Debtor                Ruben Mario Pena, Jr.                                            Case number        18-04935-5


 “Monthly Payment” or “Mo. Pmt.”                                          If paid through the Trustee’s disbursements under a confirmed chapter
                                                                          13 plan, the estimated amount of the monthly payment proposed to be
                                                                          made to the creditor. If used in reference to a Current Monthly Payment,
                                                                          the current monthly installment payment due from the Debtor to the
                                                                          creditor under the contract between the parties, including escrow
                                                                          amount, if any. If used with reference to an obligation that the Debtor
                                                                          proposes to pay directly to a creditor, the amount the Debtor shall
                                                                          continue paying each month pursuant to the contract between the Debtor
                                                                          and the creditor.
 “Other”                                                                  The Debtor intends to make alternative or additional provisions
                                                                                  regarding the proposed treatment of a claim, including the
                                                                                  intention of the Debtor to pursue a mortgage modification.
 “Other Secured Claims”                                                   Any claim owed by the Debtor that is secured by property other than the
                                                                                  Debtor’s principal residence.
 “§” or “§§”                                                              This symbol refers to the numbered Section or Sections (if two are used)
                                                                                  of the plan indicated next to the symbol or symbols; the Section
                                                                                  numbers are found to the left of the part of the plan to which they
                                                                                  refer.
 “Surrender” or “Surr.”                                                   The Debtor intends to surrender the “Collateral” to the secured
                                                                                  creditor(s) upon confirmation of the plan. Surrender of residential
                                                                                  real property is addressed in § 3.1, and surrender of other
                                                                                  “Collateral” is addressed in § 3.6.
 “Trustee”                                                                The chapter 13 standing trustee appointed by the Court to administer the
                                                                                  Debtor’s case.
 “Value”                                                                  What the Debtor asserts is the market value of a secured creditor’s
                                                                                  “collateral,” as determined under 11 U.S.C. § 506(a), and,
                                                                                  therefore, the principal amount that must be amortized at the
                                                                                  interest rate proposed and paid in full over the life of the
                                                                                  Debtor’s plan to satisfy in full the secured portion of a creditor’s
                                                                                  claim, consistent with the requirements of 11 U.S.C.
                                                                                  §§1325(a)(5) and 1328.




                                                                     E.D.N.C. Local Form 113A (12/17)                            Page 7 of 7
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                                                                     UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF NORTH CAROLINA

 Fill in this information to identify your case:
              Debtor 1 Ruben Mario Pena, Jr.                                                                   Case Number (if known):
                              First Name            Middle Name               Last Name
            Debtor 2
 (Spouse, if filing)          First Name            Middle Name               Last Name




           LIQUIDATION WORKSHEET & PLAN SUMMARY - FILED WITH CHAPTER 13 PLAN
E.D.N.C. Local Form
 I. LIQUIDATION TEST
 The information included in this worksheet shows how the Debtor determined, based on information known to the debtor at the time the Debtor’s
 chapter 13 petition was filed, the amount found in § 1.5 of the Debtor’s plan that the Debtor projects would be paid to holders of allowed unsecured
 claims if the Debtor’s bankruptcy estate were liquidated in a chapter 7 bankruptcy case. Under 11 U.S.C. §1325(a), the Bankruptcy Court must
 determine that at least this amount will be available for distribution to the holders of unsecured claims in this case for the Debtor’s plan to be
 confirmed.
   Asset Description          Market         Liquidation          Lien(s)          Net Value          Debtor's           Exemption         Liquidation
                               Value        Costs (if any)                                             Interest           Claimed              Value
 1516 Timberrock          $155,000.00 $                       $139,500.00 $                       $155,000.00         $15,500.00         $
 Ct Fayetteville, NC
 28306
 Cumberland
 County
 2011 Dodge Ram $14,000.00                $                   $15,000.00        $                 $14,000.00          $3,500.00          $
 1500 109,000
 miles
 2 WD Quad cab
 2016 Indian Chief $12,000.00             $                   $12,000.00        $                 $12,000.00          $0.00              $
 Darkhorse 15,000
 miles
 Household Goods $6,650.00                $                   $0.00             $                 $6,650.00           $6,650.00          $
 Television,              $600.00         $                   $0.00             $                 $600.00             $600.00            $
 Computer, Phone
 Paintings and Art $500.00                $                   $0.00             $                 $500.00             $500.00            $
 Firearms                 $500.00         $                   $0.00             $                 $500.00             $500.00            $
 Wearing apparel          $100.00         $                   $0.00             $                 $100.00             $100.00            $
 Jewelry                  $200.00         $                   $0.00             $                 $200.00             $200.00            $
 Checking: USAA           $300.00         $                   $0.00             $                 $300.00             $300.00            $
 FSB
 Checking: Navy           $5.00           $                   $0.00             $                 $5.00               $5.00              $
 FCU
 401(k): $6500.00         $0.00           $                   $0.00             $                 $0.00               $0.00              $
 (not part of
 Estate)
                                                            (Insert additional lines as needed.)

                                                                                            TOTAL Excess Equity in all Property:       $
                                                                                                         Subtract Attorney’s Fees: -   $3,700.00
                                                 Subtract Other Liquidation Costs Not Included in Table Above (and describe below):    -$
                                                                        Subtract Chapter 7 Trustee’s Commission (see chart below): -   $
                                                             TOTAL Required to be Paid to Holders of Allowed Unsecured Claims =        $

               Other Liquidation Costs Not Included in Table                                             Chapter 7 Trustee's Commission Table
                      Above are described as follows:                                                     per 11 U.S.C. §§ 326(a) and 1325 (a)(4)
                                                                                                   from                  to            rate        maximum $
                                                                                                                                                    amount
                                                                                            $        -           $        5,000.00     25%       $   1,250.00
                                                                                            $         5,001.00 $        50,000.00      10%       $   4,500.00
                                                                                            $        50,001.00 $ 1,000,000.00           5%       $ 47,500.00

                                                                                  E.D.N.C. Local Form 113B (12/17)                          Page 1 of 3
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 Debtor                Ruben Mario Pena, Jr.                                                          Case No.:

                                                                                             $     1,000,001.00   $        no limit        3%         $          no limit

 II. Plan

A. Secured Claims

     (1) Residential Mortgage Claims - Property Retained (Plan §3.1)
                         Direct           Conduit            Arrears           Adm.                       Tot. Arrears
 Creditor                                                                  +                     =                             Cure $/Mo.
                         Amt./Mo.         Amt./Mo            Owed              Arrears*                     to Cure*
 Cenlar FSB                       $0.00            $954.23      $4,000.00            2,000.00                   $6,000.00              $181.82
* Arrearage to be cured includes two full post-petition Mortgage Payments Pre-Petition Arrearage claim, per E.D.N.C. LBR 3070-2(a)(1).

(2) Other Secured Claims – Direct Payments by Debtor (Plan § 3.2):

         Creditor                             Collateral                Direct Amt./Mo              Arrears Owed             Interest               Cure $/Mo.

 Northwest                     2011 Dodge Ram 1500                                 $388.00                        $0.00               0.00%                        $0.00
 Federal Credit                109,000 miles
                               2 WD Quad cab
 Performance                   2016 Indian Chief                                   $257.89                        $0.00               0.00%                        $0.00
 Financial                     Darkhorse 15,000 miles

(3) “Cram-Down” Claims Being Paid Through Plan (Plan § 3.3):

                   Creditor                                          Collateral                      Value            AP Payment      Interest     Equal Mo. Pmt.

 -NONE-

(4) Secured Claims not Subject to Cram-Down Being Paid through Plan (Plan § 3.4):
                                                                                                                         AP                           Equal Mo.
                   Creditor                                          Collateral                      Value                            Interst
                                                                                                                       Payment                          Pmt.
 -NONE-

(5) Secured Claims Subject to Lien Avoidance or Surrender of Collateral (Plan §§ 3.5 & 3.6):
        Creditor               Collateral             Claim Amt.               Surrendered?                             Avoided?                  Secured Amt.
 -NONE-

(6) Secured Tax Claims
           Creditor                                           Secured Amt.


II. Executory Contracts and Unexpired Leases (Plan § 5.1)
                                                         Assume
                                                                                                  Total                                            Amt./Mo..
                                                           or                                                          Cure Term
    Lessor/Creditor          Subject/Property                                                    Arrears
                                                         Reject?
 -NONE-


III. Unsecured Claims and Proposed Plan

                        Priority/Administrative (Plan Part 4)
                  Creditor                                 Amount
 Unpaid Attorney Fees                       $3,700.00
 IRS Taxes                                  $0.00
 State Taxes                                $0.00
 Personal Property Taxes                    $0.00
 DSO/Alimony/Child Support Arrears          $0.00
 Total Est. Unsec. Priority Claims          $3,700.00


                                                                                  E.D.N.C. Local Form 113A (7/18)                                Page 2 of 3
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 Debtor                Ruben Mario Pena, Jr.                                                Case No.:

 Co-SignProtect/Specially Classified Claims(Plan Part 6)
 Creditor Name                                                % Interest   Amount
 -NONE-



                   General Unsecured Claims (Plan Parts 1 & 2)
     Liquidation Test Requires this be Paid to Unsecureds $0.00
    Debtor’s Applicable Commitment Period (“ACP”) is: 36 months
        Debtor’s Disposable Monthly Income (“DMI”) is: $-186.79
          “ACP” times “DMI” equals Unsecured Pool of: $-6,724.44
    Total Estimated Unsecured Non-priority Claims equal $58,282.27
   Est. Approx. Dividend to Unsecureds (not guaranteed): 6.00%

       PROPOSED CHAPTER 13 PLAN PAYMENT (PLAN PARTS 1 & 2)
 The proposed Plan Payment Schedule is:
 $1250 per month for 57 months
                 Median Income:     AMI BMI
               Payroll Deduction:   YES NO




                                                                           E.D.N.C. Local Form 113A (7/18)       Page 3 of 3
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